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                            **NOT FOR PRINTED PUBLICATION**

                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                  BEAUMONT DIVISION

JANE HOLLIER,                                    §
                                                 §
          Plaintiff,                             §
                                                 §       CIVIL ACTION No. 1:10CV314
v.                                               §
                                                 §
JEFFERSON COUNTY                                 §       JUDGE RON CLARK
                                                 §
          Defendants,                            §
                                                 §
                                                 §

                                       FINAL JUDGMENT

          This matter came on before the court for trial by jury on January 17, 2012. The court

empaneled a jury of eight qualified jurors. The court submitted the case to the jury, and the

verdict of the jury was in favor of Defendant on all of Plaintiff’s claims. The court accepted the

verdict and discharged the jury.

          In accordance with the verdict of the jury, IT IS THEREFORE ORDERED that the

Plaintiff, Jane Hollier, shall take nothing from her claims against the Defendant, Jefferson

County, that costs be taxed against Plaintiff, and that all relief not specifically granted herein is

denied.

      So ORDERED and SIGNED this 23 day of January, 2012.




                                                      ___________________________________
                                                      Ron Clark, United States District Judge
